                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

     Demarcus Garrick Walton,         )              JUDGMENT IN CASE
                                      )
             Plaintiff(s),            )               3:19-cv-00401-DCK
                                      )
                 vs.                  )
                                      )
          Andrew M. Saul,             )
           Defendant(s).              )

 DECISION BY COURT. This action having come before the Court by Motion and a decision
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 20, 2020 Order.

                                               October 20, 2020




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